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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :       Criminal No. 09-335 (RJL)
                                                :
                v.                              :
                                                :
PANKESH PATEL,                                  :
                                                :
                        Defendant.              :

          GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO
         TRAVEL INTERNATIONALLY TO NON-EXTRADITION COUNTRIES

        The United States of America, by and through the United States Department of Justice,

Criminal Division, Fraud Section, and the United States Attorney for the District of Columbia, files

this memorandum in partial opposition to defendant Pankesh Patel’s motion for foreign travel to

China and Indonesia, countries with which the United States has no extradition treaty. The

government consents – as it has for this defendant and others many times before – to certain

international travel, but it has consistently opposed travel by defendants contesting the case to

countries with which the United States has no extradition treaty. This is a reasonable condition of

release to assure that the defendants appear in Court for their trials. In any event, this Court has

already denied a co-defendant’s request for international travel to a country (Vietnam) with no

United States extradition treaty, and thereby rejected the same arguments defendant Patel makes

here. Accordingly, the Court should deny the defendant’s motion to the extent it seeks permission

to travel internationally to Indonesia and China.

        By way of background, the government did not seek the defendant’s detention upon his arrest

in January 2010, and the government has over the last year and a half consented to significant

international travel, among other concessions related to the defendant’s initial release conditions.

(See Patel Mot. at 2-3.) But the defendant, a British citizen, remains a flight risk principally because
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of the gravity of his crimes and the likelihood of his ultimate conviction, as well as his significant

overseas business interests (as set forth in his motion and previous motions he has filed related to

foreign travel) and his stated ability to carry on his business overseas. See United States v.

Famiglietti, 548 F.2d 398, 418 (S.D. Tex. 2008) (“[W]e note that a court may appropriately take into

account, when assessing the magnitude of the risk of flight and what affect that risk should have on

the amount of bond, the extent, recency, and purposes of the defendant’s international travel and how

comfortable with or adaptable to foreign cultures he seems to be.”). Travel to countries with which

the United States has no extradition treaty would significantly and impermissibly elevate the

defendant’s risk of flight and, in any event, limiting international travel to countries with extradition

treaties with the United States is a reasonable condition under the circumstances.

        The government understands the defendant’s need to pay for basic living expenses for his

family and for his legal defense, and it has made several accommodations in this regard, including

agreeing, just before the defendant’s trial, to release an approximately $590,000 lien on real property

located in the United States. But the defendant is awaiting re-trial on charges that could result in his

prolonged incarceration, and the government cannot agree to permit foreign travel to countries from

which it would have no recourse were the defendant to elect to flee. Accordingly, the defendant’s

request to be permitted to travel to countries with no extradition treaty with the United States should

be denied.




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      Respectfully submitted,

      DENIS J. MCINERNEY                        RONALD C. MACHEN JR.
      Chief, Fraud Section                      United States Attorney
      United States Department of Justice       In and For the District of Columbia



By:   ____/s/____________________               ______/s/____________________
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